Case 3:19-cv-01930-PAD Document 24 _ Filed 10/09/19 Page1of3

IN THE UNITED STATES DISTRICT COURT .-
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,
Plaintiff

Vv. No: 19-cv-01930

FILED UNDER SEAL
$53,082,824.19 IN U.S. CURRENCY,

Defendant

BANCO SAN JUAN INTERNACIONAL’S MOTION FOR A SUPPRESSION HEARING

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' Co-counsel for BSJI, DLA Piper, was not counsel for (No. 19-
Misc.-163), which is sealed, and is thus not in possession of the materials from that matter

referenced in this Motion. For this reason, this brief and its attachments have been prepared by
undersigned counsel only.
Case 3:19-cv-01930-PAD Document 24 _ Filed 10/09/19 Page 2of3

ee this Court should hold a suppression hearing to

determine what evidence should be suppressed as a result of the government’s search of Banco

San Juan Internacional, Inc. (BSJI) eight months ago

EE 13: Spree Cour

has long “held that the Fourth Amendment’s protection against unreasonable searches and seizures
applies in forfeiture proceedings,” Austin v. United States, 509 U.S. 602, 608 n.4 (1993) (citing
One 1958 Plymouth Sedan v. Pennsylvania, 380 U.S. 693, 696 (1965), & Boyd v. United States,
116 U.S. 616, 634 (1886)), and more specifically “that the exclusionary rule applies to civil
forfeiture,” United States v. James Daniel Good Real Prop., 510 U.S. 43, 49 (1993) (citing One
1958 Plymouth Sedan, 380 U.S. at 696).

An “evidentiary hearing on a motion to suppress ordinarily is required” when the evidence

suggests that there was a warrantless search, see, e.g., United States v. Medina, 524 F.3d 974, 983

(9th Cir. 2008); United States v. Pena, 961 F.2d 333, 339 (2d Cir. 1992), as

ee But the suppression issue is before the Court now, given that the

government has brought an enforcement action for this civil forfeiture.

suppression is the appropriate remedy for the government’s bad

faith execution of a plainly defective warrant.

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Case 3:19-cv-01930-PAD Document 24 _ Filed 10/09/19 Page 3 of 3

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v. Mata-Pena, 233 F. Supp. 3d 281, 294 (D.P.R. 2017) (Delgado-Colén, J.) (holding a suppression
hearing and suppressing derivative evidence from an unlawful search as fruit of the poisonous
tree).?

Dated: October 9, 2019

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CERTIFICATE OF SERVICE
I certify that the foregoing was filed on October 9, 2019 with the Clerk of Court using the
CM/ECF system, which automatically sent a notice of electronic filing to all counsel of record.

/s/ Guillermo-Ramos Luifia
Guillermo Ramos Luiiia

? The Court should address BSJI’s motions to dismiss first, as it can more efficientl dismiss the
Complaint on the basis of those motions without conducting an evidenti

